                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


LABORATORY CORPORATION OF                )
AMERICA HOLDINGS,                        )
                                         )
                      Plaintiff,         )
                                         )
       v.                                )               1:14cv1029
                                         )
WILLIAM G. KEARNS,                       )
                                         )
                      Defendant.         )


                          CONSENT ORDER FOR TEMPORARY
                      RESTRAINTS AND EXPEDITED DISCOVERY

       On December 9, 2014, Plaintiff Laboratory Corporation of

America      Holdings    (“LabCorp”)         filed   a    Motion   for    a    Temporary

Restraining Order and Preliminary Injunction, and for Expedited

Discovery      (the    “Motion”)     seeking,        inter     alia,    the    entry   of

temporary      restraints         against      Defendant        William       G.   Kearns

(“Kearns”)      in     furtherance       of    certain        restrictive      covenants

contained      in     Kearns’     Employment         Contract      (the     “Contract),

including covenants not to compete with LabCorp for one year

following the termination of his employment at LabCorp and not

to solicit customers or prospective customers of LabCorp with

whom    he   had    contact     while    employed        at   LabCorp    for   one   year

following the termination of his employment at LabCorp.

       The court had set this matter for hearing on the Motion for

December      18,     2014   at   2:00    p.m.,      and      Defendant     Kearns     has




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appeared through counsel.

       In an effort to avoid the expenditure of unnecessary time

and   expense,         but   without      compromising       Plaintiff’s         claims    and

without prejudice to any defenses Kearns may have (including,

without limitation, any and all defenses to the enforceability

of the restrictive covenants contained in the Contract), the

Parties consent to entry of the following Temporary Restraining

Order:

       1.    As        of    December      22,      2014,    Defendant          Kearns,      is

restrained and enjoined from directly or indirectly through a

subordinate, co-worker, peer, or any other person or entity,

including     but       not    limited       to     AdvaGenix        LLC     (“AdvaGenix”),

contacting,       soliciting         or    communicating        with        a   customer    or

potential customer of LabCorp or its subsidiary or affiliated

companies with whom Kearns had contact while employed at LabCorp

for the purpose of (i) offering, selling, licensing or providing

the   same   or    substantially           similar     assays,       commercial      medical

testing or anatomical pathology services offered and/or provided

to    such   customer         or    potential       customer     by        LabCorp   or    its

subsidiary    and        affiliated       companies     or    (ii)     influencing         said

customer’s        or    potential         customer’s     decision          on   whether      to

purchase     or    use       such   assays,        commercial    medical         testing    or

anatomical        pathology         services       offered      by     LabCorp       or    its

subsidiary and affiliated companies; and


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      2.     As     of       December        22,     2014,        Defendant        Kearns,     is

restrained and enjoined from directly or indirectly consulting

for, being employed by or otherwise engaged by any person, trade

or business, including but not limited to AdvaGenix, either (i)

involved in the research and development, licensing, production,

distribution, or sale of preimplantation genetic diagnosis and

testing     that    directly         competes        with     LabCorp       or    any    of   its

subsidiary        and       affiliated       companies       in      the   same     geographic

markets serviced by them or (ii) supplies, services, advises or

consults     with       a    person,     trade       or     business       involved      in   the

research and development, licensing, production, distribution,

or sale of preimplantation genetic diagnosis and testing that

directly     competes         with     LabCorp       or   any     of   its    subsidiary       or

affiliated companies in the same geographic markets serviced by

it.

      3.     This       Consent      Temporary        Restraining          Order    is    issued

pursuant to Federal Rule of Civil Procedure 65(b) and shall

expire     upon    the       earlier    of     (1)    the    court’s       decision      on   the

Motion for Preliminary Injunction, or (2) close of business on

January     12,    2015       (unless    the       parties      consent      to    extend     the

restraint beyond January 12 or the court orders otherwise).

      4.     The        Parties        shall       engage       in     limited       expedited

discovery,         including           the      production           of      documents        and

depositions.            Defendant      Kearns        agrees     to     respond     to    pending


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document   requests    by   December       23,   2014,    and   to    appear    for

deposition,    in   Bethesda,    Maryland,        on     December     29,     2014.

Plaintiff LabCorp agrees to work cooperatively with counsel for

Defendant Kearns to produce discovery according to a schedule to

be determined.

    5.     A   hearing      on   Plaintiff          LabCorp’s        Motion     for

Preliminary Injunction is set for January 12, 2015, at 10:00

a.m. in Winston-Salem, North Carolina in Courtroom No. 2.

    6.     Plaintiff   LabCorp   shall       file   any    papers     in    further

support of its Motion for a Preliminary Injunction on or before

December 31, 2014.       Defendant Kearns’ Opposition to Plaintiff’s

Motion for a Preliminary Injunction shall be filed on or before

January 5, 2015.       Plaintiff’s reply in further support of its

Motion for a Preliminary Injunction shall be filed on or before

January 8, 2015.

    SO ORDERED.



                                     /s/   Thomas D. Schroeder
                                  United States District Judge

December 17, 2014
12:05 p.m.
Winston-Salem, North Carolina




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CONSENTED TO:

/s/_Mark Vasco_____________            /s/ Patricia T. Bartis___
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